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                                                            Filed Date:08/01/2024 10:32

                                                            Fees Paid:52.00
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